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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

THE ESTATE OF DAVID J. BOSHEA                          *

         Plaintiff,                                    *
                                                                 Case No. 1:21-CV-00309-ELH
v.                                                     *

COMPASS MARKETING, INC.                                *

         Defendant.                                    *

*        *        *        *         *        *        *         *        *        *         *        *        *

     DEFENDANT COMPASS MARKETING, INC.’S AMENDED PRETRIAL ORDER

         Defendant Compass Marketing, Inc. (“Compass Marketing” or “the Company”), by and

through its undersigned counsel, and pursuant to Local Rule 106.2, hereby submits this Amended

Pretrial Order.1

         A.       Facts that Compass Marketing Intends to Prove or Rely Upon as a Defense

         Compass Marketing intends to prove that when the Company hired Plaintiff David J.

Boshea (“Boshea”) in 2007, Compass Marketing never entered into any contract, either oral or

written, with Boshea that called for the payment of severance upon the termination of Boshea’s

employment. Compass Marketing further intends to prove that Boshea and Compass Marketing

engaged in negotiations to purchase a company owned by friends of Boshea, but they failed to

reach a final agreement. Compass Marketing also intends to show that, when those negotiations


1
  On March 25, 2025, Compass Marketing filed a Motion to Rescind March 17, 2025 Order (ECF 326) because the
Court’s order (ECF 322) granting the Plaintiff’s Suggestion of Death on the Record Under Rule 25(a)(1) and Motion
for Substitution of Party (ECF 310) was improvidently granted for the reasons set forth in the Motion to Rescind.
Compass Marketing incorporates by reference its Motion to Rescind. Compass Marketing objects to admitting into
evidence testimony by David Boshea from the first trial or his deposition that relates to his claim for breach of an oral
contract. Compass Marketing’s objections are further explained in Compass Marketing’s Proposed Motion in Limine
to Exclude Prior Testimony of David J. Boshea Related to the Formation and Existence of an Oral Contract. See ECF
323-1. Compass Marketing is noting the inclusion of Boshea’s testimony only in the alternative in the event the Court
were to overrule Compass Marketing’s objections and deny Compass Marketing’s Motion in Limine.
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did not result in an agreement, Boshea and Compass Marketing decided to enter into an

employment relationship, but they never entered into a written employment agreement or an oral

agreement that called for Boshea to receive a severance payment if he was terminated from

employment without cause.       Compass Marketing further intends to prove that the written

agreement titled “Compass Marketing, Inc. Agreement Relating to Employment and Post-

Employment Compensation” (“Agreement”), relied on by Boshea, is fraudulent, was never signed

by John White, and the signature on the Agreement purporting to be John White’s signature is a

forgery. Compass Marketing further intends to prove that it had a good faith basis not to pay

Boshea the $540,000 in severance he claimed he was owed when he demanded it because Compass

Marketing never entered into the alleged agreement with Boshea, so it had no obligation or reason

to pay Boshea the claimed severance. Because the Agreement is fraudulent, it is unenforceable.

Further, because the parties never agreed to a severance payment orally, Boshea’s estate is not

entitled to any relief.

        B.      Any Amendments Required of Pleadings

        None are anticipated at this time.

        C.      Any Issue in Pleadings to Be Abandoned

        None.

        D.      Proposed Stipulations of Fact

        1.      David Boshea was a resident of the state of Illinois and remained a resident of the

state of Illinois throughout his employment with Compass Marketing.

        2.      During his employment with Compass Marketing, David Boshea did not pay any

state income taxes to the state of Maryland.




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        3.       Compass Marketing is a Virginia corporation headquartered in Annapolis,

Maryland.

        4.       Compass Marketing terminated David Boshea’s employment in March 2020.

        E.       Damages Claimed by Plaintiff

        Boshea claims he is owed $540,000 in wages pursuant to the Agreement and/or pursuant

to an oral contract that he allegedly entered into with John White on behalf of Compass Marketing

that included a severance provision. Boshea also has brought a claim for violation of the Maryland

Wage Payment and Collection Law (“MWPCL”) based on the alleged failure to pay wages under

the Agreement and/or oral contract and, in connection with that claim, Boshea is seeking enhanced

damages of up to three times the wages owed (i.e., treble damages), the maximum of which would

be $1,620,000.00.

        F.       Compass Marketing’s Exhibits

        See Exhibit A.

        G.       Compass Marketing’s Witnesses

    Name                       Contact Information                               Expected to Call or
                                                                                 May be Called?

    John White                 Contact through counsel                           Expected to be Called

    David Boshea               Deceased                                          Testimony to be read into
                                                                                 record.2

    Ronald Bateman             Contact through counsel                           May be Called

    Michael White              39650 Hiawatha Circle, Mechanicsville, May be Called
                               Maryland (301) 481-5986


2
  Compass Marketing objects to admitting into evidence testimony by David Boshea from the first trial or his
deposition that relates to his claim for breach of an oral contract. Compass Marketing’s objections are further
explained in Compass Marketing’s Proposed Motion in Limine to Exclude Prior Testimony of David J. Boshea Related
to the Formation and Existence of an Oral Contract. See ECF 323-1. Compass Marketing is noting the inclusion of
Boshea’s testimony only in the alternative in the event the Court were to overrule Compass Marketing’s objections
and deny Compass Marketing’s Motion in Limine.

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   Daniel White             21900 Fairway Drive, Leonardtown, May be Called
                            Maryland 20650 (240) 298-6156

   George White             15125 Woodville Road, Waldorf, May be Called
                            Maryland 20601 (240) 419-2340

   Jerry Cain               Contact through counsel                     May be Called

   Erin Songer              Contact through counsel                     Expected to be Called

   Lou Fernandez            Contact through counsel                     May be Called

   Jonathan Staples         Contact through counsel                     May be Called

   Debra White              39650 Hiawatha Circle, Mechanicsville, May be Called
                            Maryland

   Kelly White              21900 Fairway Drive, Leonardtown, May be Called
                            Maryland

       H.       Compass Marketing’s Expert Witness

       Jeffrey Payne – Certified Document Examiner

       I.       Deposition Testimony to Be Offered

Compass Marketing’s Objections and, in the Alternative, Counter-Designations to David J.
                           Boshea’s Prior Trial Testimony

       Compass Marketing generally objects to the designations of David Boshea’s prior trial

testimony that may relate to the formation and existence of an alleged oral contract as set forth in

the Motion in Limine to Exclude Prior Testimony of David J. Boshea Related to the Formation

and Existence of an Alleged Oral Contract (ECF 323-1). To the extent that Compass Marketing’s

Motion to Exclude is denied in whole or in part, Compass Marketing reasserts and incorporates by

reference any objections it asserted at trial to specific questions and/or answers (including the

introduction of any exhibits) that the Estate of David J. Boshea seeks to designate for admission

during the upcoming trial in this matter. Additionally, Compass Marketing requests the following

counter-designations to David J. Boshea’s trial testimony on February 21, 2024, except that any


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counter-designations that may be related to the formation and existence of an alleged oral contract

are requested if and only if the Motion in Limine to Exclude Prior Testimony is denied in whole

or in part.

Designation: Pg 106:16-21
Designation: Pg 106:24 – 107:2
Designation: Pg 108:4-21
Designation: Pg 108:25 – 110:2
Designation: Pg 110:19 111:19
Designation: Pg 112:5-15
Designation: Pg 116:13-20
Designation: Pg 117:16 – 119:2
Designation: Pg 119:4 (starting with “were”) – 120:19 (ending with “it”)
Designation: Pg 120:25 – 121:22
Designation: Pg 122:6-19
Designation: Pg 123:23-24
Designation: Pg 124:6
Designation: Pg 135:19 – 136:5
Designation: Pg 136:19-21
Designation: Pg 146:10 (starting with “In the event”) – 13
Designation: Pg 146:15 – 147:8
Designation: Pg 147:22 – 149:5
Designation: Pg 157:20-22
Designation: Pg 158:10 (starting with “Can you pull up”)
Designation: Pg 158:16-22
Designation: Pg 159:1:11
Designation: Pg 160:13 – 162:13
Designation: Pg 164:23 – 167:10
Designation: Pg 168:6 – 169:24
Designation: Pg 170:18 – 172:9
Designation: Pg 173:4-8
Designation: Pg. 173:15-18
Designation: Pg 174:2-5
Designation: Pg 174:17-24
Designation: Pg 176:15-24
Designation: Pg 177:12-22
Designation: Pg 178:4-5
Designation: Pg 190:9 – 191:2
Designation: Pg 191:7 – 192:5
Designation: Pg 193:13 – 194:9
Designation: Pg 195:4-11
Designation: Pg 200:23-24
Designation: Pg 201:5-19
Designation: Pg 204:6-7


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Designation: Pg 209:19 – 210:2
Designation: Pg 210:10 – 211:1
Designation: Pg 211:5-11
Designation: Pg 211:15-16
Designation: Pg 211:21 – 213:12
Designation: Pg 214:9 – 216:21
Designation: Pg 224:22 – 225:4
Designation: Pg 225:19
Designation: Pg 227:24 – 231:3 (ending with “yes”)
Designation: Pg 232:9 – 233:25
Designation: Pg 234:4-6
Designation: Pg 234:12 (starting with “All right”) – 236:19
Designation: Pg 237:9 -10


 Compass Marketing’s Objections, and, in the Alternative, Counter-Designations to John
                           Adams’ Deposition Testimony

       A.      General Objection to the Entirety of John Adams’ Deposition Designations

       Compass Marketing generally objects to the designations of John Adams’ deposition

testimony on relevance grounds, as John Adams’ deposition testimony is irrelevant as to whether

Compass Marketing entered into an agreement with David Boshea that included a provision that

called for the payment of severance upon the termination of David Boshea’s employment. The

Court ruled on this issue during the first trial, in which it stated, “How is it relevant about somebody

else’s agreement as to whether [Boshea] had the agreement? Now here's where I think it's possibly

admissible, and that would be in rebuttal.” See Trial Tr. vol. 3, 5:12-15. Regarding John Adams,

nothing has changed from the first trial to the second trial. Therefore, for the exact reasons that

the Court found that the testimony was not relevant in the first trial, the Court should find the same

in the second trial as the testimony would confuse the jury and it would be more prejudicial than

probative.

       B.      Objections to Specific Designations for John Adams’ Deposition Testimony

       Designation: Pg 7:15-21
       Objection: Line 15 is not part of a question.


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       Designation: Pg 8:7-14
       Objection: Line 7 is not part of a question.
       Objection: These lines acknowledge a standing objection to any documents subpoenaed
       by David Boshea from John Adams. Compass Marketing objects to any documents
       introduced by David Boshea that he attached to John Adams’ subpoena and any documents
       introduced during the deposition as having been produced by John Adams on authenticity
       grounds.

       Designation: Pg 22:3-18
       Objection: Relevance; Hearsay; Authentication.

       Designation: Pg 24:1-14
       Objection: Lines 12-14 are a question with no answer; there is no testimony.

       Designation: Pg 27:24 through Pg 28:16
       Objection: Relevance; Hearsay

       Designation: Pg 30:5 through Pg 36:12
       Objection: Relevance; Authentication; Hearsay

       Designation: Pg 42:21 through Pg 44:24
       Objection: Relevance; Hearsay
       Objection: Pg 44:2-24 – In addition to Relevance and Hearsay, Form and Asked and
       Answered (which are noted in the transcript)

       C.      Compass Marketing’s Counter Designations, in the Alternative

       Compass Marketing reserves the right to determine at trial whether it would like to have

the following counter-designations from John Adams’ deposition testimony read into the record:

Pg 46:18 through Pg 47:4.


       J.      Any Other Pretrial Relief

       Compass Marketing intends to file a Motion to Exclude reference to John White’s run for

political office. During the first trial in this matter, counsel for Plaintiff mentioned Mr. White’s

run for political office, including party affiliation, and who he ran against during Plaintiff’s

opening statement, but never put such testimony into evidence. Such evidence is not relevant and

any potential relevance is outweighed by the prejudice it would cause. Thus, Plaintiff should be


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precluded not only from seeking to put such testimony into evidence, Plaintiff also should be

precluded mentioning such matters in opening statements or in other arguments.

       In addition, in light of the Court’s rulings at the first trial precluding questions about

Compass Marketing owners Daniel and Michael White’s, and former Compass Marketing IT

manager George White’s involvement in Boshea’s claim against Compass Marketing, rather than

taking trial time to address these issues for preservation purposes, Compass Marketing requests

that the Court enter an order that recognizes all of Compass Marketing’s arguments concerning

questions/testimony related to Daniel White, Michael White, and/or George White and the related

lawsuit pending in the Circuit Court for Anne Arundel County are preserved for appeal purposes.




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                                      Exhibit A

                  Defendant Compass Marketing, Inc.’s Exhibit List


Exhibit No.   Identification   Admitted                     Description
                                          March 2, 2020 David Boshea Termination Letter &
     1                                    Proposed Severance Agreement

                                          May 24, 2007 Email from David Boshea to Michael
     2
                                          White Re: Follow Up

                                          June 12, 2007 Salary Reduction Form for David
     3
                                          Boshea January 1, 2007 through December 31, 2007

                                          Maryland New Hire Registry Reporting Form
     4
                                          Illinois Withholding Allowance Worksheet
     5
                                          March 5, 2020 Email from Rebecca Obarski to John
     6
                                          White Re: David Boshea Employment Terms

                                          March 5, 2020 Email from Rebecca Obarski to Erin
     7
                                          Songer Re: Personnel File of David Boshea

                                          March 16, 2020 Email from David Boshea to Erin
     8
                                          Songer Re: Follow Up on Separation

                                          May 29, 2020 Email from David Boshea to John

     9                                    White FW: Dave Boshea Employment Terms


                                          June 11, 2020 Email from David Boshea to John
    10
                                          White Re: Loser




                                          9
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Exhibit No.   Identification   Admitted                    Description
                                          August 1, 2020 Email from David Boshea to John
    11
                                          White (No subject)

                                          August 11, 2020 Email from David Boshea to John
    12
                                          White FW: Dave Boshea Employment Terms

                                          David Boshea Call Log
    13
                                          March 3, 2025 John D. White Signature Examination
    14
                                          by Jeffrey Payne

                                          October 31, 2021 Rebuttal of the Findings of Donna
    15
                                          O. Eisenberg by Jeffrey Payne

                                          January 4, 2021 Text between David Boshea, Daniel
    16
                                          White, and Michael White

                                          June 7, 2021 Email from David Boshea to Daniel
    17
                                          White Re: Contracts

                                          June 16, 2021 Email from David Boshea to Daniel
    18
                                          White (Untitled)

                                          September 17, 2021 Email from Gregory Jordan to
    19
                                          Michael White Re: John White Signature Samples

                                          December 28, 2020 Text Messages between David
    20
                                          Boshea and Michael White

                                          September 17, 2021 Text Message between David
    21
                                          Boshea, Michael White, and Daniel White (Redacted)




                                          10
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Exhibit No.   Identification   Admitted                    Description
                                          January 12, 2021 Email from Daniel White to
    22
                                          Gregory Jordan Re: David Boshea

                                          December 27, 2020 Email from David Boshea to
    23
                                          Gregory Jordan and Daniel White Re: Compass

                                          David Boshea’s Responses to Defendant Compass

                                          Marketing Inc.’s First Set of Interrogatories to
    24
                                          Plaintiff David J. Boshea (Redacted)

                                          David Boshea’s Amended Responses to Defendant

                                          Compass Marketing’s First Set of Interrogatories to
    25
                                          Plaintiff David J. Boshea (Redacted)

                                          December 27, 2020 Email from David Boshea to
    26
                                          Daniel White Re: Greg

                                          Compass Marketing, Inc. Agreement Relating to

                                          Employment and Post-Employment Competition
    27
                                          (Unexecuted) (Nagle, Obarski & Holzhauer, P.C.)

                                          Compass Marketing, Inc. Agreement Relating to

                                          Employment and Post-Employment Competition
    28
                                          (Executed)

                                          September 17, 2021 Email from Daniel White to
    29
                                          Gregory Jordan




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Exhibit No.   Identification   Admitted                     Description
                                          September 13, 2021 Email from Gregory Jordan to

                                          Daniel White Re: Boshea v. Compass Marketing, Inc.
    30
                                          - Compass Marketing’s Expert Disclosure

                                          August 15, 2021 Email from Gregory Jordan to
    31
                                          Daniel White Re: Dan Mike

                                          January 15, 2021 Email from Gregory Jordan to
    32
                                          Daniel White Re: Local Counsel Referral

                                          December 23, 2020 Email from Gregory Jordan to
    33
                                          Daniel White Re: Follow Up

                                          September 20, 2021 Email from Gregory Jordan to
    34
                                          Michael White Re: Documents

                                          Compass Marketing, Inc Agreement Relating to

                                          Employment and Post-Employment Competition
    35
                                          (revision 1)

                                          Compass Marketing, Inc Agreement Relating to
    36
                                          Employment and Post-Employment Competition

                                          Compass Marketing, Inc Agreement Relating to
    37
                                          Employment and Post-Employment Competition

                                          June 3, 2021 Email from David Boshea to Daniel

                                          White    FW:   Compass       Marketing    Severance
    38
                                          Agreement




                                          12
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Exhibit No.   Identification   Admitted                     Description
                                          January 5, 2021 Email from David Boshea to Daniel
    39
                                          White and Michael White (No subject)

                                          January 7, 2021 Email from David Boshea to Daniel
    40
                                          White Re: Compass

                                          December 21, 2020 Email from Daniel White to
    41
                                          David Boshea Re: Follow Up

                                          June 16, 2021 Email from David Boshea to Daniel
    42
                                          White (No subject)

                                          June 21, 2021 Email from David Boshea to Daniel
    43
                                          White Re: see attached

                                          June 29, 2021 Email from David Boshea to Daniel

                                          White FW: 1:21-cv-00309-ELH Boshea v. Compass
    44
                                          Marketing, Inc.

                                          July 6, 2021 Email from David Boshea to Gregory
    45
                                          Jordan and Daniel White Re: dpose

                                          June 27, 2023 Email from David Boshea to Michael
    46
                                          White and Gregory Jordan (No subject)

                                          September 12, 2023 Email from David Boshea to

                                          Michael White and Daniel White Re: revision trial
    47
                                          prep

                                          October 6, 2023 Email from Michael White to David
    48
                                          Boshea (No subject)


                                          13
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Exhibit No.   Identification   Admitted                    Description
                                          September 18, 2023 Text Message from David
    49
                                          Boshea to Michael White

                                          September 13, 2021 Email from Daniel White to

                                          Gregory Jordan Re: Boshea v. Compass Marketing,
    50
                                          Inc. – Compass Marketing’s Expert Disclosure

                                          October 5, 2021 Subpoena to Produce Documents,

                                          Information, or Objects or to Permit Inspection of
    51
                                          Premises in a Civil Action to John Adams

                                          June 30, 2023 State of Maryland Commission on
    52
                                          Judicial Disabilities Reprimand

                                          Paycheck Protection Program Borrower Application
    53
                                          Form executed by Michael White on April 25, 2020

                                          December 1, 2008 Compass Marketing, Inc. County
    54
                                          First Bank Signature Card

                                          June 15, 2009 Compass Marketing, Inc. County First
    55
                                          Bank Signature Card

                                          January 26, 2021 Email from D. Boshea to Daniel
    56
                                          White FW: Document

                                          April 2007 David Boshea Memo to John White
    57
                                          October 18, 2023 Text Message between Daniel
    58
                                          White and Gregory Jordan




                                          14
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Exhibit No.   Identification   Admitted                    Description
                                          February 9, 2016 $450,000 Check Paid out of

                                          Compass Marketing, Inc. Checking Account to
    59
                                          Michael White

                                          Michael White’s W-2: Wage and Tax Statement for
    60
                                          2018

                                          Michael White’s 2018 Financial Disclosure
    61
                                          Demonstrative Poster – John D. White Signature
    62
                                          Comparison

                                          Demonstrative Poster – Signs Showing Evidence of
    63
                                          a Simulation




                                          15
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Dated: March 26, 2025             Respectfully submitted,

                                  /s/Stephen B. Stern
                                  Stephen B. Stern, Bar No.: 25335
                                  Shannon M. Hayden, Bar No.: 30380
                                  KAGAN STERN MARINELLO & BEARD, LLC
                                  238 West Street
                                  Annapolis, Maryland 21401
                                  (Phone): (410) 216-7900
                                  (Fax): (410) 705-0836
                                  Email: stern@kaganstern.com

                                  Counsel for Defendant
                                  Compass Marketing, Inc.




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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 26th day of March, 2025, the foregoing Defendant
Compass Marketing, Inc.’s Pretrial Order was served via the CM/ECF system on the following
counsel of record:

       Thomas J. Gagliardo                   Gregory J. Jordan
       Gilbert Employment Law, PC            Mark Zito
       1100 Wayne Avenue, Suite 900          Jordan & Zito, LLC
       Silver Spring, Maryland 20910         350 N. LaSalle Drive, Suite 1100
       Email: tgagliardo@gelawyer.com        Chicago, Illinois 60654
                                             Email: gjordan@jz-llc.com

       Attorneys for Plaintiff
       The Estate of David J. Boshea




                                         /s/Stephen B. Stern
                                         Stephen B. Stern




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